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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                          CIVIL MINUTES - TRIAL

 Case No.        EDCV16-227-JGB(KKx) / EDCV16-1323-JGB (Consolidated)                                         Date      November 20, 2018
 Title:          DEMAR SMITH, et al v. COUNTY OF RIVERSIDE, et al

 Present: The Honorable           JESUS G. BERNAL, U.S. DISTRICT JUDGE
                        Maynor Galvez                                           Adele C. Frazier (morning)/Phyllis Preston (afternoon)
                           Deputy Clerk                                                                  Court Reporter/Recorder


                Attorneys Present for Plaintiff(s):                                                Attorneys Present for Defendants:
John W. Harris                                                                  Eugene P. Ramirez
Herbert Hayden                                                                  Angela Marie Powell
                             Day Court Trial                       5th                      Day Jury Trial
                                               st
           One day trial:           Begun (1 day);         X     Held & Continued;                  Completed by jury verdict/submitted to court.
      The Jury is impaneled and sworn.
      Opening statements made by
 ✔    Witnesses called, sworn and testified.          ✔   Exhibits Identified         ✔     Exhibits admitted.

      Plaintiff(s) rest.                              ✔ Defendant(s) rest.
 ✔    Closing arguments made by                       ✔   plaintiff(s)           ✔        defendant(s).          ✔     Court instructs jury.
 ✔    Bailiff(s) sworn.                             ✔     Jury retires to deliberate.                                  Jury resumes deliberations.
      Jury Verdict in favor of                            plaintiff(s)                    defendant(s) is read and filed.
      Jury polled.                                        Polling waived.
      Filed Witness & Exhibit Lists                       Filed jury notes.               Filed jury instructions.
      Judgment by Court for                                                               plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                           plaintiff(s)                 defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                       is             granted.             denied.           submitted.
      Motion for mistrial by                                                     is             granted.             denied.           submitted.
      Motion for Judgment/Directed Verdict by                                    is             granted.             denied.           submitted.
      Settlement reached and placed on the record.
 ✔    Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
      Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
 ✔ Case continued to                       11/21/2018, at 9:00 a.m.                           for further trial/further jury deliberation.
 ✔    Other: Counsel stipulate off the record to withdraw exhibit 314.


                                                                                                                         5        :          00
                                                                                Initials of Deputy Clerk                       MG
cc:


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